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Karen Guyder Felter                                     Apnl26,2018                                   Wth Offices in
Partner                                                                              Syracuse I Buffalo I Long Island
kfelter@smithsovik. com


VIA ECF

Hon. David E. Peebles
United States Magistrate Judge
Federal Building and U.S. Courthouse
100 South Clinton Street
P. O. Box 7345
Syracuse, NY 13261 -7345

                    Re:      Doe v. Syracuse University, et al
                             Civil Action No.: 5:18-CV-00496 IFJS-DEP]

Dear Magistrate Judge Peebles:

        I am writing on behalf of all involved counsel to advise that by agreement of the parties, Plaintiffs'
application for a TRO and preliminary injunction via Order to Show Cause filed yesterday, Apnl26,
2018, is hereby withdrawn. This agreement will obviate the need for the in person Motion Hearing set
for tomorrow at 2:00 p.m.

                                                        Very truly yours,




                                                        Karen G. Felter


Cc:                 All Counsel of Record via ECF




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